             Case 2:20-cv-04759-CMR Document 8 Filed 02/10/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA
                                                     :
RICHARD A. GORMAN,                                   :
                                                     :
                 Plaintiff,                          :
                                                     :
v.                                                   :
                                                     : Case No.: 2:20-cv-04759-JCJ
ILYA SHPETRIK,                                       :
                                                     :
                                                     :
                                                     :
                 Defendant.                          :
                                                     :


                                     ENTRY OF APPEARANCE

TO THE CLERK:

Kindly enter my appearance on behalf of Defendant Ilya Shpetrik in the above captioned matter1.




                                               Respectfully submitted,

                                         By: /s/ Matthew Faranda-Diedrich
    Dated: February 10, 2021                  Matthew Faranda-Diedrich, Esquire
                                              PA Id. No. 203541
                                              ROYER COOPER COHEN BRAUNFELD LLC
                                              Two Logan Square
                                              100 N. 18th St., Suite 710
                                              Philadelphia, PA 19103
                                              267-546-0275 (phone); 484-362-2630 (fax)
                                              Attorneys for Defendant Ilya Shpetrik




1
 Defendants enters the appearance of its counsel without waiver of, and expressly preserving, all defenses and
objections, including but not limited to as relating to the jurisdiction of this Court.
{00947996.v1 }
             Case 2:20-cv-04759-CMR Document 8 Filed 02/10/21 Page 2 of 2




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                 Plaintiff,                     :
                                                :
v.                                              :
                                                : Case No.: 2:20-cv-04759-JCJ
ILYA SHPETRIK,                                  :
                                                :
                                                :
                 Defendant.                     :
                                                :
                                                :


          I hereby certify that a true and correct copy of the foregoing Entry of Appearance has

been filed electronically and is available for viewing and downloading from the ECF system to

all counsel of record.




                                                    /s/ Matthew Faranda-Diedrich
Dated: February 10, 2021                            Matthew Faranda-Diedrich, Esquire




{00947996.v1 }
